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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WISCONSIN


DRIFTLESS AREA LAND
CONSERVANCY and
WISCONSIN WILDLIFE
FEDERATION,

       Plaintiffs,
                                                           Case No. 19-CV-1007
       v.

MICHAEL HUEBSCH,
REBECCA VALCQ, and
ELLEN NOWAK, Commissioners, and
PUBLIC SERVICE COMMISSION OF
WISCONSIN,

       Defendants.


   NON-PARTY WEC ENERGY GROUP’S RESPONSE TO PLAINTIFFS’ MOTION TO
                             COMPEL



       Non-party WEC Energy Group (“WEC”) hereby responds to Plaintiffs’ “Motion to Compel

Compliance with Third Party Subpoenas.” (Dkt. 116, 117.)

                                        INTRODUCTION

       In their Motion to Compel, Plaintiffs lump together seven distinct non-parties——WEC,

Robert Garvin, Quarles & Brady LLP, Barbara Nick, Brian Rude, John Garvin, and the Midcontinent

Independent System Operator (“MISO”)—and move the Court to compel each of them “to comply

with subpoenas duces tecum served by Plaintiffs.” (Dkt. 117 at 1.) Largely dispensing with specific

arguments as to why each of these non-parties should be compelled to comply with their subpoenas,

Plaintiffs instead falsely accuse them of conspiring with the Defendants and Intervenors in the case

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“in a concerted effort to avoid and delay compliance with any discovery.” (Dkt. 117 at 4.) Here, as

is often the case, it is “[b]est to take Occam's Razor and slice off needless complexity.” Commodity

Futures Trading Comm'n v. Zelener, 373 F.3d 861, 868 (7th Cir. 2004). If Plaintiffs have received

“across-the-board objections” to their discovery requests (Dkt. 117 at 4), it is not because of a

nefarious plot to stymie Plaintiffs’ lawsuit against the Public Service Commission of Wisconsin

(“PSC”). Rather, it is because Plaintiffs’ extraordinarily broad discovery requests fall far outside the

scope of discovery allowed by the Federal Rules of Civil Procedure. At least, as explained herein,

that is certainly the case with Plaintiffs’ subpoena duces tecum to WEC.

                                          BACKGROUND

       This case centers on Plaintiffs’ claim that two of the three Commissioners of the PSC—

Chairperson Rebecca Valcq and Commissioner Michael Huebsch—should have recused themselves

from the PSC’s ruling on a Certificate of Public Convenience and Necessity (“CPCN”) for the

“Cardinal-Hickory Creek” high-voltage transmission line.          Plaintiffs’ Complaint alleges that

Chairperson Valcq’s employment nearly seven years ago by WEC, which has a 60% ownership stake

in American Transmission Company (“ATC”) 1 (one of the applicants for the CPCN), as well as her

employment by one of WEC’s outside law firms created a conflict of interest. (See Dkt. 1, ¶¶ 58, 63–

65, 150.) But WEC was not a party to the PSC proceeding and had no involvement in it. (Exh. A,

Garvin Decl., ¶ 3.) Plaintiffs have provided not a scrap of evidence supporting their apparent suspicion



1
  WEC is a partial owner of ATC because it was formed in 2000 by Wisconsin electric utilities and
cooperatives that agreed to contribute their high voltage transmission lines to the new entity pursuant
to Wis. Stat. § 196.485. Under state law, ATC is obligated to construct, operate, maintain, and expand
transmission facilities to provide reliable, adequate transmission service on a non-discriminatory basis
and is subject to the jurisdiction of the Federal Energy Regulatory Commission. Id. (Exh. A, Garvin
Decl. ¶ 6.) Today, ATC is owned by 26 investor-owned electric utilities (or their holding companies),
municipal electric utilities and electric cooperatives. (Id.) See https://www.atcllc.com/about-
us/owners/.
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that WEC sought to influence the PSC’s decision concerning Cardinal-Hickory Creek. There is

literally zero basis for Plaintiffs’ discovery against the company.

         As for Commissioner Huebsch, the Complaint alleges that his “entanglements with MISO

presented a conflict of interest and created at least the appearance of bias and impropriety if not actual

bias and impropriety.” (Dkt. 1, ¶ 160.) MISO was a party to the case before the PSC. According to

Plaintiffs, “MISO is a regional transmission organization that services the high-voltage transmission

system in the Midwest states, Manitoba, and a southern region including much of Arkansas,

Mississippi, and Louisiana.” (Id., ¶ 82.) Plaintiffs claim that MISO “developed and approved the

proposed ATC line as part of its ‘Multi Value Portfolio’ a decade ago.” (Id., ¶ 92.) Plaintiffs attached

as an exhibit to the Complaint a publicly-available “Membership Listing” for MISO that includes

Wisconsin Electric Power Company and Wisconsin Public Service Corporation, two subsidiaries of

WEC, among 187 other members. (Dkt. 1-9.) On that basis alone, Plaintiffs claim MISO is “owned”

by WEC. (Dkt. 1, ¶ 84.) And they demand every communication between Commissioner Huebsch

and WEC—apparently to investigate whether an improper relationship between MISO (vis-à-vis

WEC) and the Commissioner existed, and whether that relationship somehow came into play

connection with the matter before the PSC (a matter in which WEC was not a party and played no

role).

         With successive discovery requests and motions, Plaintiffs attempt to support their ever-

expanding discovery requests with claims that are now much broader than the allegations of their

Complaint 2—Plaintiffs now claim the PSC Commissioners’ friendships with employees of various



2
   Plaintiffs’ Complaint alleges that Commissioner Huebsch’s and Chairperson’s Valcq’s
“entanglements with other parties centrally involved in this case presented conflicts of interest and at
least an appearance of bias and lack of impartiality when the totality of the circumstances is
considered.” (Dkt. 1, ¶ 3.) WEC is not alleged to be (nor was it) “centrally involved” in the case.
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players in the Wisconsin utility industry either directly or remotely connected to the Cardinal-Hickory

Creek project made them unfit to rule on the CPCN. To that end, Plaintiffs served extremely broad

discovery requests upon WEC and the other non-parties named in Plaintiffs’ omnibus Motion to

Compel. 3 From WEC, Plaintiffs requested for the time period January 1, 2018 to the present, “all

documents reflecting, recording, noting, memorializing, or describing” any communication between

(1) Commissioner Huebsch “or anyone communicating on his behalf,” (2) Chairperson Valcq “or

anyone communicating on her behalf,” or (3) Commissioner Ellen Nowak “or anyone communicating

of her behalf” on the one hand—and any “representative, employee, agent, board member, officer, or

attorney” of WEC or any of its “affiliated entities, parent companies, and subsidiaries” on the other.

(Dkt. 118-1 (emphases added).) The requests are not limited to any subject, let alone to the Cardinal-

Hickory Creek project, and much less to the allegations of Plaintiffs’ Complaint.

        In its timely written response to Plaintiffs’ subpoena, WEC objected on the following grounds:

    •   The requests do not relate to any issue in the case, as framed by Plaintiffs’ Complaint.

    •   The phrase “anyone communicating on [a Commissioner’s] behalf” is vague and ambiguous.
        Whether a person was “communicating on [a Commissioner’s] behalf” may be subject to
        subjective interpretation. The phrase could be interpreted to mean anyone and everyone
        employed by the PSC.

    •   The requests seek communications involving virtually anyone associated with WEC and “its
        affiliated entities, parent companies, and subsidiaries”—with no attempt to limit them to
        entities bearing any relation to the issues presented in the case.

    •   The time period is overbroad because it seeks information about all communications to date.
        The Commission made its decision on the Cardinal-Hickory Creek transmission line on
        September 26, 2019. If the ostensible relevance of the requests is potential bias with respect
        to that decision, subsequent communications are irrelevant.


3
  It is clear that Plaintiffs’ broad discovery efforts in this lawsuit are also intended (at least in part) to
bolster their claims in the parallel proceeding they have brought in the Dane County Circuit Court.
Indeed, on October 19, 2020 Plaintiffs moved the Circuit Court to accept as non-record evidence in
the Court’s review of the PSC proceeding text messages that Plaintiffs received from Defendants in
discovery in this case (among other things). (Exh. B, Nolan Decl., ¶ 4 & Exh. 1 thereto.)
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      •   The requests are not limited as to the topic of the communication at issue, but rather broadly
          seek “all documents reflecting, recording, noting, memorializing, or describing” “each
          communication,” regardless of whether the topic is even arguably relevant to any issue in the
          case.

      •   Rather than limit the requests to communications with a relevant subset of individuals
          associated with WEC, the requests broadly seek communications involving any
          “representative, employee, agent, board member, officer, or attorney.” But WEC and its
          subsidiaries alone have more than 7,500 employees—not to mention the additional individuals
          who would qualify as WEC’s “representative, … , agent, board member, officer, or attorney,”
          plus each “representative, employee, agent, board member, officer, or attorney” of WEC’s
          many “affiliated entities, parent companies, and subsidiaries.” Reviewing WEC’s files, and
          the files of each of its affiliates, parents, and subsidiaries, to identify responsive documents
          would be an exceedingly time-intensive and burdensome process that is not justified by the
          needs of the case.

(Dkt. 118-8.)

          Plaintiffs did not contact WEC to discuss these objections or engage in any discussion with

WEC about how the requests might be narrowed. (Exh. B., Nolan Decl., ¶ 3.) Plaintiffs instead moved

to compel, grouping WEC with six other non-parties, and baselessly accusing it of participating in a

concerted effort to stonewall Plaintiffs’ discovery in this case.

          The Motion to Compel makes just three arguments in favor of the discovery Plaintiffs seek:

      •   Some third parties’ objections to the subpoenas were waived because they were not timely
          raised or were raised in a way that does not meet technical requirements. (Dkt. 117 at 5-7.)
          This does not apply to WEC.

      •   The objection to production of “purely personal” communications should be rejected because
          under the Plaintiffs’ new, broader theory of the case such communications might provide
          evidence of the “close ties and relationships between the defendant Commissioners and the
          parties appearing before them in the CPCN proceeding.” (Dkt. 117 at 7.) This does not apply
          to WEC because it did not appear in the CPCN proceeding.

      •   Objections to production of privileged argument should be rejected, either because they are
          not legitimate, or because Plaintiffs do not seek privileged material. (Dkt. 117 at 8-9.) WEC
          did object to production of privileged materials, but that was just one of several objections.

          The Motion to Compel fails altogether to address WEC’s other objections, 4 including the


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    To the extent Plaintiffs attempt to address each non-party individually in their reply brief and offer
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extension of Plaintiffs’ requests to all communications (regardless of topic) with virtually any person

associated with WEC and any of WEC’s many affiliates—overly nearly a three-year period. Plaintiffs

gloss over the exceedingly broad nature of their requests and lose sight of the issues in the case, as

framed by the Complaint. The Motion to Compel should be denied as to WEC.

                                       LEGAL STANDARD

       Federal Rule of Civil Procedure Rule 26 permits the discovery of any non-privileged matter

“that is relevant” to a party's claim or defense and “proportional” to the needs of a case, considering

the importance of the issues at stake, the importance of the discovery in resolving those issues, the

amount in controversy, and the weighing of burdens and benefits. See Fed. R. Civ. P. 26(b)(1). The

scope of discovery extends only so far as claims pled in the Complaint. Bak v. Home Video

Franchising Corp., No. 1:09-CV-1196-RLY-DML, 2010 WL 3211041, at *2 (S.D. Ind. Aug. 12,

2010) (“Relevance is determined in light of the allegations in the complaint and the usefulness of the

information in establishing those allegations.” (citing Westinghouse Elec. Corp. v. Gulf Oil Corp., 588

F.2d 221, 226 (7th Cir. 1978)). Relevance is not determined by looking to the “subject matter”

involved in the lawsuit—but rather “the actual allegations contained in the complaint.” Beauchem v.

Rockford Prod. Corp., No. 01 C 50134, 2002 WL 100405, at *1 (N.D. Ill. Jan. 24, 2002); Ellman v.

Hentges, No. 99 C 50269, 2001 WL 649508, at *1 (N.D. Ill. June 8, 2001) (“The relevance of the

documents requested by Plaintiff is determined by the scope of her complaint.” (citing Fed. R. Civ. P.




particularized reasons why each respective subpoena seeks relevant information (which Plaintiffs
should have done in the first instance in the Motion to Compel), such effort should be rejected. As
this court has held, “reply briefs are not the place to raise new arguments.” Link Snacks, Inc. v. Fed.
Ins. Co., No. 08-CV-714, 664 F.Supp.2d 944, 960 (W.D. Wis. Oct. 20, 2009) (citing Narducci v.
Moore, 572 F.3d 313, 324 (7th Cir. 2009) (“[T]he district court is entitled to find that
an argument raised for the first time in a reply brief is forfeited.”)). Alternatively, WEC should be
given an opportunity to respond to any particularized relevance arguments raised for the first time in
Plaintiffs’ reply.
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26(b)(1)); see also Ye v. Cliff Veissman, Inc., No. 14-CV-01531, 2016 WL 950948, at *2 (N.D. Ill.

Mar. 7, 2016) (noting that the 2015 amendments to the Federal Rules of Civil Procedure “deleted from

Rule 26 a party's ability, for good cause, to obtain discovery of any information relevant to the subject

matter of the case, and the notion that information is discoverable, even if not directly relevant, if it is

reasonably calculated to lead to the discovery of admissible evidence”).

        “The limits and breadth of discovery expressed in Rule 26 are applicable to non-party

discovery under Rule 45.” Noble Roman's, Inc. v. Hattenhauer Distrib. Co., 314 F.R.D. 304, 307

(S.D. Ind. 2016) (citing Advisory Committee Note regarding 1991 amendments to Rule 45 (“non-

party witness is subject to the same scope of discovery under this rule as that person would be as a

party to whom a request is addressed pursuant to Rule 34”)); Jackson v. Brinker, 147 F.R.D. 189, 193–

94 (S.D. Ind. 1993) (“The scope of material obtainable by a Rule 45 subpoena is as broad as permitted

under the discovery rules.”).

        “Non-parties are not treated exactly like parties in the discovery context, and the possibility of

mere relevance may not be enough; rather, non-parties are entitled to somewhat greater protection.”

In re Subpoenas to Wisconsin Energy Corp., No. 10-MC-7, 2010 WL 715429, at *1 (E.D. Wis. Feb.

24, 2010) (emphases added; quotation marks omitted); see also Pinehaven Plantation Prop., LLC v.

Mountcastle Family LLC, No. 1:12-CV-62, 2013 WL 6734117 (M.D. Ga. Dec. 19, 2013) (“[I]t is a

generally accepted rule that standards for non-party discovery require a stronger showing of relevance

than for party discovery.”).

        If the requested discovery is within the scope of Rule 26, when determining whether to enforce

subpoenas to third parties, “[t]he Seventh Circuit applies a ‘relative hardship test,’ considering

whether the burden of compliance would exceed the benefit of production of the materials sought.” In

re Subpoenas to Wisconsin Energy Corp., 2010 WL 715429, at *1 (quoting Nw. Mem. Hosp. v.

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Ashcroft, 362 F.3d 923, 927, 933 (7th Cir. 2004)). “Additionally, the Court may consider whether the

subpoena seeks discovery that is ‘unreasonably cumulative or duplicative, or is obtainable from some

other source that is more convenient, less burdensome, or less expensive.’” Id. (quoting Fed. R. Civ.

P. 26(b)(2)).

                                            ARGUMENT

       Plaintiffs’ Motion to Compel fails as to WEC for two reasons. First, the requests at issue seek

information that is irrelevant to the underlying dispute, which is the only subject on which discovery

can be based. Second, even if a modicum of relevance could be imagined within the requests (which

WEC disputes), the requests are overbroad and disproportionate to the needs of the case.

       1.       Plaintiffs’ requests seek irrelevant information.

       Plaintiffs allege in the Complaint that “entanglements with other parties centrally involved in

the case [before the PSC] presented conflicts of interest and at least an appearance of bias and lack of

impartiality” on the part of Commissioner Huebsch and Commission Chair Valcq. (Dkt. 1, ¶ 3

(emphasis added).). First of all, WEC was not “centrally involved in the case”—WEC was not

involved directly, indirectly, or tangentially. The Complaint does not allege any specific facts

establishing WEC’s particular interest in the Cardinal-Hickory Creek transmission line, other than the

publicly-known fact that WEC is a partial owner of one of the applicants (ATC). But the PSC CPCN

was one of many approvals needed for the project and WEC has taken no position—nor does it have

one—on where the transmission line will be placed. Hence, it had no involvement in the PSC

proceeding whatsoever, as a party or otherwise. (Exh. A, Garvin Decl., ¶¶ 3, 4.) In fact, when ATC

solicited WEC and other ATC members to submit a letter to the PSC in support of the project, WEC

declined to do so. (Id.) WEC also declined to intervene in the proceeding as a party. (Id.)

       The only other alleged “link” between the case and WEC is Commissioner Valcq’s past

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employment as in-house counsel for WEC (which ended in early 2014) and as a partner at Quarles &

Brady, LLP, which serves as an outside law firm for WEC. Plaintiffs allege that “[t]he extent of Chair

Valcq’s relationship with We Energies and WEC Energy Group . . . creates at least an appearance of

bias and lack of impartiality.” (Dkt. 1, ¶¶ 58, 63–63, 150.) Since Plaintiffs claim that Commissioner

Valcq’s “past employment” in and of itself is sufficient to establish “an appearance of bias and lack

of impartiality,” communications with WEC years after Commissioner Valcq left WEC’s employment

are irrelevant. Indeed, the Complaint alleges no facts which Commissioner Valcq’s communications

with WEC could prove or disprove.

       The request for WEC’s communications with Commissioner Huebsch is even more tenuous.

The Complaint contains no allegations linking Commissioner Huebsch and WEC. To substantiate

Commissioner Huebsch’s alleged bias, the Complaint alleges that his “entanglements with MISO [(a

party to the case before the PSC)] presented a conflict of interest and created at least the appearance

of bias and impropriety if not actual bias and impropriety.” (Dkt. 1, ¶ 160.) Plaintiffs claim that MISO

“developed and approved the proposed ATC line as part of its ‘Multi Value Portfolio’ a decade ago.”

(Id., ¶ 92.) Plaintiffs attached as an Exhibit to the Complaint a publicly-available “Membership

Listing” for MISO that includes Wisconsin Electric Power Company and Wisconsin Public Service

Corporation, two subsidiaries of WEC, among 187 other members. (Dkt. 1-9.)

       Most irrelevant of all is Plaintiffs’ request for all communications between any person

associated with WEC and Commissioner Nowak. The Complaint contains no allegations whatsoever

of bias or partiality on the part of Commissioner Nowak, much less any bias or partiality stemming

from a relationship with WEC. Plaintiffs’ request for all WEC’s communications with Commissioner

Nowak is the paradigm of fishing expeditions.

       The Motion to Compel falls far short of establishing that Plaintiffs’ requests to WEC are

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relevant. Plaintiffs assert that, through discovery in this case, they have discovered “several close

relationships between the Commissioners and the main players in the industry that the PSC is tasked

with regulating, including the entities that appeared before the PSC in the CPCN contested case.”

(Dkt. 117 at 7 (emphasis added); id. (asserting the need to probe “the close ties and relationships

between the defendant Commissioners and the parties appearing before them in the CPCN

proceedings” (emphasis added).) This relevance argument fails because WEC did not appear before

the PSC in the case at issue. Plaintiffs fail to explain how relationships between the Commissioners

and entities that had no involvement in the Cardinal-Hickory Creek proceeding are relevant to

Plaintiffs’ allegations of “conflicts of interest and at least an appearance of bias and lack of

impartiality” relating to that proceeding. Because Plaintiffs’ requests are not relevant to the issues

presented in their Complaint—or any of the Defendants’ affirmative defenses—they are outside the

scope of Rule 26. See United States v. Farley, 11 F.3d 1385, 1390 (7th Cir. 1993) (concluding the

discovery requests were “as a matter of law not relevant” where they did not relate to the issues

presented in the complaint or any of the defendant’s affirmative defenses).

       Plaintiffs further argue that they require “additional discovery from third parties to confirm

these relationships and obtain more details regarding them,” but fail to explain why WEC, a non-party,

is in a position to have such information. What’s more, Plaintiffs do not specify which “relationships”

might be “confirmed” by WEC’s communications, or elaborate on their theory that WEC’s

communications might provide relevant “details” about those relationships. And, again, Plaintiffs

offer nothing to tie these “relationships” to the allegations in the Complaint. In reality, Plaintiffs’

theory of “entanglements” is a moving (and vastly growing) target based on rank speculation, which

Plaintiffs can only hope to support by a fishing expedition. This is not an adequate basis for discovery.

See Howard v. Meli, No. 17-CV-1353-PP, 2020 WL 4464606, at *4 (E.D. Wis. Aug. 4, 2020) (“It is

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no longer true that a request is relevant if there is any possibility that the information it seeks may

be relevant. Now the request must be proportional, and a party must show, among other things, that

the discovery is important in resolving the issues in the case.”).

        2.      Plaintiffs’ requests are overbroad and unduly burdensome.

        Even if Plaintiffs’ requests to WEC sought relevant information (which they don’t), WEC

should not be compelled to respond because the requests are overbroad, unduly burdensome, and

disproportionate to any conceivable need in the case. Plaintiffs claim that their subpoena to WEC is

“narrowly tailored to seek nonprivileged, relevant material without imposing an undue burden.” (Dkt.

117 at 5.) This could not be further from the truth.

        First, the phrase “anyone communicating on [a Commissioner’s] behalf” is vague and

ambiguous. The phrase could be interpreted to mean anyone and everyone at the PSC. Plaintiffs did

not attempt to clarify this ambiguity before moving to compel. (Exh. B., Nolan Decl. ¶ 3.)

        Second, Plaintiffs seek communications involving virtually anyone associated with WEC and

“its affiliated entities, parent companies, and subsidiaries”—without limiting the scope of the request

to affiliated entities bearing any relationship to the issues presented in the case. As such, Plaintiffs’

request extends to over 30 separate corporate entities under the WEC umbrella, only eight of which

operate utilities. Of those eight utilities, five of them conduct business exclusively outside of the State

of Wisconsin. Five of the utilities sell natural gas, not electricity, which is the utility service at issue

in this case. (Exh. A, Garvin Decl., ¶ 7.) Plaintiffs did not engage with WEC to attempt to narrow

the entities covered by their requests before moving to compel. (Exh. B, Nolan Decl., ¶ 3.)

        Third, the time period for the requests is overbroad because it seeks information about all

communications to date.       The Commission made its decision on the Cardinal-Hickory Creek

transmission line on September 26, 2019. If the ostensible relevance of the requests is potential bias

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with respect to that decision, subsequent communications are irrelevant and the requested time period

is overbroad. Plaintiffs did not contact WEC to discuss a more narrow time period before moving to

compel. (Id., ¶ 3.)

       Fourth, the requests are not limited as to the topic of the communication at issue, but rather

broadly seek “all documents reflecting, recording, noting, memorializing, or describing” “each

communication,” regardless of whether the topic is even arguably relevant to any issue in the case.

As a holding company for several regulated utilities, employees of WEC and its subsidiaries are in

regular—even daily—communication with regulatory staff about dozens, if not hundreds, of pending

matters as well as day-to-day operations. (Exh A, Garvin Decl., ¶ 5.) Plaintiffs made no attempt to

work with WEC to narrow their requests by topic before moving to compel. (Exh. B, Nolan Decl., ¶

3.)

       Fifth, rather than limit the requests to communications with a relevant subset of individuals

associated with WEC, the requests broadly seek communications involving any “representative,

employee, agent, board member, officer, or attorney.” WEC and its subsidiaries have more than 7,500

employees—not to mention the additional individuals who would qualify as WEC’s “representative,

… , agent, board member, officer, or attorney,” plus each “representative, employee, agent, board

member, officer, or attorney” of WEC’s many “affiliated entities, parent companies, and subsidiaries.”

(Exh. A, Garvin Decl., ¶ 8.) Plaintiffs did not endeavor to limit their requests to a targeted subset of

individuals before moving to compel. (Exh. B, Nolan Decl., ¶ 3.)

       Reviewing WEC’s files, and the files of each of its affiliates, parents, and subsidiaries, to

identify responsive documents would be a time-intensive and burdensome process to impose on a non-

party—one that is not justified by the needs of the case. Recently, WEC responded to a subpoena

duces tecum that was somewhat narrower in scope than Plaintiffs’, and required somewhat less than

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the anticipated effort that would be required to comply with Plaintiffs’ subpoena (in terms of the

number of estimated custodians and documents to be collected and reviewed to identify potentially

responsive documents, if any). Responding to that subpoena has cost WEC well in excess of $100,000

to date—and costs continue to accrue. (Exh. C, Wilson Dec., ¶¶ 3–4.) This amount does not include

the opportunity cost of diverting internal resources from WEC (at least two to three employees) to

assist with identifying and collecting potentially responsive electronic information and documents.

(Id., ¶ 5.) Given the dearth of allegations in the Complaint making these communications relevant in

the first place, this burden is vastly disproportionate to the needs of the case. And even if Plaintiffs

established in their Motion to Compel that communications with WEC might “prove” that

relationships existed between certain Commissioners and certain players in the Wisconsin energy

industry (they haven’t), it is far from proportionate to collect “all communications” from virtually

anyone affiliated with WEC or any of its many affiliates simply to “prove” those relationships existed.

       Sixth, the information that Plaintiffs appear to seek regarding the relationships between the

PSC Commissioners and “the entities that appeared before the PSC in the CPCN contested case” can

be obtained “from some other source that is more convenient, less burdensome, or less expensive”—

a stipulation or testimony from the PSC Commissioners or the parties who appeared before the PSC.

See In re Subpoenas to Wisconsin Energy Corp., 2010 WL 715429, at *1 (“[T]he Court may consider

whether the subpoena seeks discovery that is ‘unreasonably cumulative or duplicative, or is obtainable

from some other source that is more convenient, less burdensome, or less expensive.’” (quoting Fed.

R. Civ. P. 26(b)(2)).); see also In re Heartland Inst., No. 11 C 2240, 2011 WL 1839482, at *4 (N.D.

Ill. May 13, 2011) (“Even if it is found that the information sought from Third Parties by Plaintiffs is

relevant, by their own admissions, Plaintiffs have not shown that they have fully exhausted other

reasonable sources of gaining the information sought in the subpoenas…. The record reflects that

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Plaintiffs' attempt to obtain the information from Third Parties' is not the least intrusive means of

obtaining such information and borders on harassment. Therefore, this court finds that Plaintiffs have

not shown a compelling need for the information being sought.”).

                                          CONCLUSION

       WEC’s intent in responding to Plaintiffs’ subpoena was not to obstruct Plaintiffs’ efforts in

this case. And, contrary to Plaintiffs’ unfounded accusations, WEC certainly has not entered a

conspiracy with others to do so. Simply put, WEC is not willing to undertake the burden, expense,

and invasion of privacy involved in responding to requests that do not meet the standards of Rule 26.

  Dated: November 5, 2020.
                                                      QUARLES & BRADY LLP

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